                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                            Crim. No..: 08-327 (SRC)

        V.                                          Hon. Stanley R. Chesler

ANDREW MEROLA ci al.                                ORDER OF DISMISSAL




       This matter having come before the Court on the motion of the United States Attorney for

the District of New Jersey Paul J. Fishman (Assistant U.S. Attorney Bohdan Vitvitsky,

appearing) to dismiss the prosecution against defendant Charles Muccigrosso due to his death on

February 28, 2010; and

       The Court having considered the motion and the death certificate attached thereto;



       iT IS NOW ORDERED on this           “-day of March, 2010 that the prosecution

against Charles Muccigrosso is hereby dismissed with prejudice.




                                                        R. CI-IESLER
                                                   States District Judge
